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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA :
                         :
    v.                   :                       CRIMINAL NO. 21-CR-028 (APM)
                         :
                         :
JAMES BEEKS         :

    MOTION FOR LEAVE TO WITHDRAW AS STANDBY COUNSEL


      COMES NOW Attorney Nicole Cubbage, standby counsel for defendant

JAMES BEEKS, to respectfully move this Honorable Court for the entry of an

Order granting leave to withdraw as standby counsel in 21-CR-028-APM. As

grounds, the following is stated:

      1.   Undersigned counsel was first appointed to be Mr. Beek’s standby

           counsel in January of 2023 in anticipation of his upcoming trial and in

           light of his recent decision to represent himself pro se in this matter.

      2.   Undersigned counsel entered an appearance as counsel on January 3,

           2023. (ECF 810).

      3.   At the January 20, 2023 hearing in this matter, this Court granted Mr.

           Beek’s motion to Sever and set a new status for this matter to be held on

           March 3, 2023 at 3:00pm.




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       4.   This Court then granted Mr. Beek’s motion to continue that hearing (ECF

            873) and a new status date of March 31, 2023 has been set for hearing at

            2:00pm.

       5.   Undersigned counsel has had an emergency medical matter arise that

            requires her to move permanently to Texas at the earliest date possible.

       6.   This will require undersigned counsel to shut down her court appointed

            law practice in the District of Columbia and she will no longer have an

            office in this area.

       7.   Undersigned counsel hopes to completely end her law practice in the

            United States District Court for the District of Columbia by early July

            and remain only as a paralegal for local counsel on select matters moving

            forward.1

       8.   Mr. Beeks does not yet have a trial date set in this matter, but it appears a

            trial date earlier than July of 2023 would be unlikely given the current

            commitments of government and co-counsel.

       9.   Mr. Beeks was informed of undersigned counsel’s need to withdraw and

            asked if he wished to continue to use undersigned counsel through the

            discovery and pre-trial phases of his case (all work that can be done



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  Counsel has one retained attorney representation matter set for trial May 1, 2023 (21-cr-708-RCL) and will be
trying that case with co-counsel, Kira Anne West. Additionally, undersigned counsel is prepared to sit at trial, if
needed, in any other matters for which she is currently an appointed paralegal, even after the July 2023 closing of
her law practice in D.C.
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         remotely from Texas), but that undersigned counsel could not sit with

         him at trial in The United States District Court for the District of

         Columbia under the current circumstances. Mr. Beeks indicated that he

         wished to have new standby counsel appointed at this time.

      WHEREFORE, the foregoing reasons, and for such other reasons as may

appear just and proper, undersigned counsel respectfully requests this Honorable

Court for entry of an Order granting leave to withdraw as standby counsel for the

defendant in case 21-cr-028 and asks that new standby counsel be appointed to

represent Mr. Beeks at this time.

                                        Respectfully Submitted,

                                           /s/ Nicole Cubbage
                                        Nicole Cubbage
                                        DC Bar No. 999203
                                        712 H. Street N.E., Unit 570
                                        Washington, D.C. 20002
                                        703-209-4546
                                        cubbagelaw@gmail.com
                                        Standby Counsel for Mr. Beeks.

                                 Certificate of Service
I certify that a copy of the forgoing was filed electronically for all parties of record
                           on this 27th day of March, 2023.
                                    ____/s/______
                                    Nicole Cubbage
                            Standby Counsel for Mr. Beeks




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